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                 EXHIBIT 1
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                                              - CODE OF ORDINANCES
                                          Chapter 20 - FOOD AND DRUGS
                                       ARTICLE V. CHARITABLE FOOD SERVICES




                             ARTICLE V. CHARITABLE FOOD SERVICES

Sec. 20-251. Definitions.
      As used in this article, the following words and phrases shall have the meanings set forth in this section:
           Charitable food services means providing food without charge, payment or other compensation to
      benefit those in need at an outdoor location not owned, leased or controlled by the individual or
      organization providing the food.
             Food service event means each instance in which charitable food services are provided to more than
      five individuals.
            Health department means the Houston Health Department.
            Parks department means the department of parks and recreation.
            Recognized charitable food service provider means an individual or organization which participates in
      charitable food services and has received a certificate from the city designating said individual or
      organization as being in good standing in the City of Houston Recognized Charitable Food Service Provider
      Program.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012; Ord. No. 2015-820, § 15, 8-26-2015)


Sec. 20-252. Use of property without consent prohibited.
      It shall be unlawful for any organization or individual to sponsor or conduct a food service event on public or
private property without the advance written consent of the public or private property owner or other individual
with lawful control of the property.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012)


Sec. 20-253. Program created.
      There is hereby created the City of Houston Recognized Charitable Food Service Provider Program (the
"program"). The purpose of the program shall be to create a voluntary coalition of religious, community based, and
charitable organizations and individuals dedicated to providing charitable food services in an organized, efficient,
and cooperative process, assuring sanitary, quality foods are delivered to those in need, while protecting the
environment and the rights of private property owners. The program shall be coordinated jointly by the director of
public health and one or more community-based organizations.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012; Ord. No. 2015-820, § 16, 8-26-2015)


Sec. 20-254. Participation in the program; certification.
      Any individual or organization desiring to participate in the program shall provide to the health department
basic contact information, including name, address, telephone number, FAX number, email address, and name or



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names of contact person(s). In addition, the individual or organization, by requesting to participate in the program,
shall pledge to do the following:
      (1)   To cooperate with the program coordinators in the scheduling and siting of food service events, with
            the goal of maximizing the benefit of such charitable food services to the needy.
      (2)   To provide charitable food services in a manner consistent with good hygiene, sanitation, and food
            safety, by:
            a.    Following basic standards for food preparation, handling, storage, and use promulgated by the
                  health department.
            b.    Conducting each food service event under the guidance of at least one person who has attended
                  a city-sponsored, free-of-charge food safety training class conducted by the health department
                  and has received an appropriate charitable food service certification (also referred to as a
                  "certification"). A person qualified as a food service manager under section 20 -53 of this Code
                  shall also suffice. A certification obtained in this manner shall be valid for a period of five years.
            c.    Authorizing the inspection of all food preparation areas, all food transport vehicles, and all food
                  service events by appropriate representatives of the health department.
            d.    Agreeing to implement improvements to their food preparation, transportation, an d service
                  process as suggested by the health department.
      (3)   To provide adequate personnel, trash receptacles, and trash containment and removal measures to
            contain all trash, refuse, and litter on the site of the food service event and to remove all tras h, refuse,
            litter and unused foods from the site at the conclusion of the food service event.
      Any individual or organization providing the necessary contact information and pledging to participate in the
program as described in this section shall be designated by an official certificate issued by the health department
as a recognized charitable food service provider, and upon continuing to fulfill that pledge as determined by the
health department, shall be eligible for renewal annually.
     An individual or organization providing charitable food services with the consent of the property owner but
without participating in the program established by this article shall not be deemed in violation of this article.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012)


Sec. 20-255. Health department authorized.
      The health department is authorized to:
      (1)   Issue guidelines for food preparation, food transportation, food storage, and other food safety,
            sanitation, and public health-related issues associated with conducting food service events.
      (2)   Provide appropriate health department personnel to conduct charitable food service certification
            classes at no charge as described in section 20-254(2)(b) of this Code.
      (3)   Identify on an annual basis beginning one year from the effective date of Ordinance No. 2012 -269,
            those recognized charitable food service providers which have abided by their pledge to provide
            charitable food services in conformance with section 20-254 of this Code, and based on that
            performance, determine that such individuals or organizations should continue in good standing as
            recognized charitable food service providers.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012)




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Sec. 20-256. Identification and recognition.
      The city shall maintain on the city website a list identifying by name and address (and if requested by the
provider, other direct contact information), those recognized charitable food service providers which are in good
standing under the program. In addition, recognized charitable food service providers currently in good standing
under the program may also identify themselves as having achieved that status in correspondence, publications,
and the like; provided, however, such identification shall not utilize the official city seal or other similar official
identifiers of the City of Houston.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012)


Sec. 20-257. Use of city parks and other city property for food service events.
      The director of the parks department shall develop rules, regulations, and criteria for the use of park
properties for food service events and shall maintain a list of park properties with areas approved for food service
events. The director of public health shall develop rules, regulations, and criteria for the use of other city property
for food service events and shall maintain a list of such properties with areas approved for food service events. The
parks department and the health department shall coordinate designation of such properties to avoid redundancy
and maximize the most effective use of the properties.
(Ord. No. 2012-269, § 2, 4-4-2012, eff. 7-1-2012; Ord. No. 2015-820, § 17, 8-26-2015)




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